Case 2:19-cv-OGifrep S¥ates Dis THIET COURT CENTRAL TISIRICP OF CU iEGRNIA Page ID #:11

 

 

 

CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself [_] ) DEFENDANTS = ( Check box if you are representing yourself [_] )
ADLER & ASSOCIATES ENTERTAINMENT, LLC, a California LLC; AMAZON.COM, INC,, a
Kimberly Boyle Delaware Corp.; DREAMSCAPE MEDIA, LLC., an Ohio LLC; CHARIS FEENEY-ORCHARD,
an individual, and DOES 1-10, inclusive
(b) County of Residence of First Listed Plaintiff Maricopa, AZ County of Residence of First Listed Defendant Los Angeles
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
(c) Attorneys (Firm Name, Address and Telephone Number) If you are Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information. representing yourself, provide the same information.

Larry Zerner, Law Office of Larry Zerner, 1801 Century Park East, Ste. 2400, Los
Angeles, CA 90067. Phone 310-773-3623

 

 

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.) Il. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF | ted or Principal Pl PTF DEF
1. U.S. Government [Xx] 3. Federal Question (U.S. Citizen of This State igi neorpora ed or Principal Place =] 4 [] 4
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [—] 2 [] 2 Incorporated and Principal Place O55
US.G D (ind c h of Business in Another State
2. U.S. Government 4. Diversity (Indicate Citizenship |Citizen or Subject of a Foreian Nation
Defendant of Parties in Item III) Foreign Country L13 [3 Foreign Natio Ose Os
IV. ORIGIN (Place an xin one box only.) Remanded f 4. Reinstated 5. Transferred from Anoth 6. Multidistrict 8. Multidistrict
- Original . Removed from O . Remanded from O . Reinstated or O - Transferred from Another O Litigation - O Litigation -
Proceeding State Court Appellate Court Reopened District (Specify) Transfer Direct File

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [[] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [_|Yes [_]No MONEY DEMANDED IN COMPLAINT: $ 150,000
VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 

17 U.S.C, Sec. 501. Copyright Infringement of Plaintiff's motion picture screenplay.

 

Vil. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[1] 375 False Claims Act [_] 110 Insurance [_] 240 Torts to Land gO Ae aa ation Habeas Corpus: [X] 820 Copyrights
376 Qui Tam L] 120 Marine [] 245 Tort Product [] 463 Alien Detainee _] 830 Patent
Liability 510 Motions to Vacate
(31 USC 3729(a)) [ 765 Other oO 835 Patent - Abbreviated
J 130 Miller Act [] 290 All Other Real Immigration Actions Sentence oO 9 Patent - Abbreviate
oO 400 State 140 Negotiable Property TORTS [-] 530 General New Drug Application
Reapportionment C1 instrument TORTS PERSONAL PROPERTY |[_| 535 Death Penalty L] 840 Trademark
[J 410 Antitrust 150 Recovery of Ay saint INJURY |] 370 Other Fraud Other: SOCIAL SECURITY
; verpaymen irplane
[] 430 Banks and Banking |[_] Foectcement of 315 Airplane [1] 371 Truth in Lending |] 540 Mandamus/Other |L] 861 HIA (1395ff
Oo Ronee ercesiCC Judgment Cc Product Liability 380 Other Personal |LJ 550 Civil Rights [_] 862 Black Lung (923)
[1] 460 Deportation [_] 151 Medicare Act oO 320 assault Libel & O Property Damage oO 555 Prison Condition [_] 863 DIWC/DIWW (405 (g))
Slander a .
_ 152R f ' 385 Property Damage 560 Civil Detainee 864 SSID Title XVI
Oo 470 Racketeer Influ Def. ited Sted oO 330 Fed. Employers CI Product Liability [1 Conditions of U
enced & Corrupt Org. |[_] Defaulted Student Liability 865 RSI (405 (q))
[] 480 Consumer Credit Loan (Excl. Vet.) [] 340M BANKRUPTCY confinement UG ,
40 Marine
[1] 490 Cable/sat TV 153 Recovery of 345 Marine Product |[-] 422Appea! 28 PORREMURERENSEIM FEDERALTAXSUITS _|
sat [ Overpayment of |{L] Liability USC 158 625 Drug Related 870 Taxes (U.S. Plaintiff or
[7] 850 Securities/Com- Vet. Benefits 423 Withdrawal 28 |LI Seizure of Property21 /[1 Defendant)
modities/Exchange 160 Stockholders’ |L] 350 Motor Vehicle CI usc 157 USC 881 871 IRS-Third Party 26 USC
890 Other Statutory |L1 suits [] 355 Motor Vehicle CIVIL RIGHTS L] 690 Other CO 7609
CO Actions Product Liability Fy 440 other Civil Right arERT
‘ 190 Other er Civil Rights
L] 891 Agricultural Acts U Contract oO 360 Other Personal ; 710 Fair Labor Standards
893 Environmental Injury : L] 441 Voting O Act
LI Matters oO 195 Contract Oo 362 Personal Injury-
895 Freedom of Inf Product Liability Med Malpratice O ag Eepioyment oO 720 Labor/Mgmt.
reedom of Info. . jury. lousing elations
196 Franchise 365 Personal Injury. .
U1 act OH OO Product Liability C1 ‘Accommodations [J 740 Railway Labor Act
[1 896 Arbitration REAL PROPERTY 445 American with
367 Health Care/ vo AME
; J Disabilities- 751 Family and Medical
. [] 210 Land [1] Pharmaceutical CO leave Act
899 Admin. Procedures Condemnation Personal Injury Employment eave
1) Act/Review of Appeal of [1] 220 Foreclosure Product Liability q 446 American with O 790 Other Labor
Agency Decision 230 Rent Lease & |C] 368 Asbestos Disabilities-Other Litigation
950 Constitutionality of ent Lease P Inj ; 791 Employee Ret. Inc.
CO State Statutes CO Ejectment Producy Liabilty [] 448 Education CO Security Act

 

 

 

 

 

 

FOR OFFICE USE ONLY: Case Number:
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CIVIL COVER SHEET

VIII, VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed

from state court? STATE CASE WAS PENDING IN THE COUNTY OF; INITIAL DIVISION IN CACD IS:

 

L] Yes No

[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western

 

If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the L] Orange Southern

 

corresponding division in response to

 

 

 

 

Question E, below, and continue from there. |L] Riverside or San Bernardino Eastern
QUESTION B: Is the United States, or |B.1. Do 50% or more of the defendants who reside in YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a__|the district reside in Orange Co.? [_] Enter “Southern” in response to Question E, below, and continue
PLAINTIFF in this action? from there.
check one of the boxes to the right —>
L] Yes [x] No x NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
If "no, " skip to Question C. If"yes," answer | the district reside in Riverside and/or San Bernardino
Question B.1, at right. Counties? (Consider the two counties together.)

YES. Your case will initially be assigned to the Eastern Division.
(J Enter "Eastern" in response to Question E, below, and continue

 

 

 

 

from there.
check one of the boxes to the right NO. Your case will initially be assigned to the Western Division.
> Enter "Western" in response to Question E, below, and continue
from there.
QUESTION C: Is the United States, or |C.1. Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a__|district reside in Orange Co.? [_] Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action? from there.
check one of the boxes to the right —>
LI Yes [x] No De NO. Continue to Question C.2.

 

C.2. Do 50% or more of the plaintiffs who reside in the
If "no, " skip to Question D. If "yes," answer {district reside in Riverside and/or San Bernardino
Question C.1, at right. Counties? (Consider the two counties together.)

YES. Your case will initially be assigned to the Eastern Division.
(J Enter "Eastern" in response to Question E, below, and continue

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

from there.
check one of the boxes to the right —_ NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.
A. B. c.
, a Riverside or San Los Angeles, Ventura,
. ? ie i
QUESTION D: Location of plaintiffs and defendants? Orange County Bemardino County | Santa Barbara, or San
Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district Cl Cl] CO
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
aistict reside. (Check up to two boxes, or leave blank if none of these choices [] [| []
apply.
D.1. Is there at least one answer in Column A? D.2. Is there at least one answer in Column B?
[_] Yes No [_] Yes No
If "yes," your case will initially be assigned to the If "yes," your case will initially be assigned to the
SOUTHERN DIVISION. EASTERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there. Enter "Eastern" in response to Question E, below.
If "no," go to question D2 to the right. => If "no," your case will be assigned to the WESTERN DIVISION.
Enter "Western" in response to Question E, below.
QUESTION E: Initial Division? INITIAL DIVISION IN CACD
Enter the initial division determined by Question A, B,C, or D above: m- WESTERN
QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties? [_] Yes No

 

 

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CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [_] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO [1] Yes

 

Civil cases are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[ ] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): /Larry Zerner/ DATE: February 6, 2019

 

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SSID
865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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